                                                                   Case 2:18-bk-20151-ER           Doc 1113 Filed 12/20/18 Entered 12/20/18 09:24:43    Desc
                                                                                                     Main Document    Page 1 of 15


                                                                   1   Henry C. Kevane (CA Bar No. 125757)
                                                                       Shirley S. Cho (CA Bar No. 192616)
                                                                   2   PACHULSKI STANG ZIEHL & JONES LLP
                                                                       150 California Street, 15th Floor
                                                                   3   San Francisco, CA 94111
                                                                       Telephone: 415/277-6910
                                                                   4   Facsimile: 415/201-0760
                                                                       E-mail: hkevane@pszjlaw.com
                                                                   5            scho@pszjlaw.com

                                                                   6   Co-Counsel for Chapter 11 Debtors and
                                                                       Debtors In Possession
                                                                   7

                                                                   8                                UNITED STATES BANKRUPTCY COURT

                                                                   9                CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

                                                                  10   In re,                                          Lead Case No. 2:18-bk-20151-ER
                                                                  11   VERITY HEALTH SYSTEM OF                         Jointly administered with:
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       CALIFORNIA, INC., et al.,                       Case No. 2:18-bk-20162-ER
                                                                  12                                                   Case No. 2:18-bk-20163-ER
                                                                                Debtors and Debtors In Possession.     Case No. 2:18-bk-20164-ER
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                                       Case No. 2:18-bk-20165-ER
                                                                                                                       Case No. 2:18-bk-20167-ER
                                                                  14    Affects All Debtors                           Case No. 2:18-bk-20168-ER
                                                                                                                       Case No. 2:18-bk-20169-ER
                                                                  15    Affects O’Connor Hospital                     Case No. 2:18-bk-20171-ER
                                                                        Affects Saint Louise Regional Hospital        Case No. 2:18-bk-20172-ER
                                                                  16    Affects St. Francis Medical Center            Case No. 2:18-bk-20173-ER
                                                                        Affects St. Vincent Medical Center            Case No. 2:18-bk-20175-ER
                                                                  17    Affects Seton Medical Center                  Case No. 2:18-bk-20176-ER
                                                                        Affects O’Connor Hospital Foundation          Case No. 2:18-bk-20178-ER
                                                                  18    Affects Saint Louise Regional Hospital        Case No. 2:18-bk-20179-ER
                                                                         Foundation                                    Case No. 2:18-bk-20180-ER
                                                                  19    Affects St. Francis Medical Center of         Case No. 2:18-bk-20181-ER
                                                                         Lynwood Medical Foundation
                                                                  20    Affects St. Vincent Foundation                Chapter 11 Cases
                                                                        Affects St. Vincent Dialysis Center, Inc.
                                                                  21    Affects Seton Medical Center Foundation       Hon. Ernest M. Robles
                                                                        Affects Verity Business Services
                                                                  22    Affects Verity Medical Foundation             PACHULSKI STANG ZIEHL & JONES LLP’S
                                                                        Affects Verity Holdings, LLC                  MONTHLY FEE APPLICATION FOR
                                                                  23    Affects DePaul Ventures, LLC                  ALLOWANCE AND PAYMENT OF INTERIM
                                                                        Affects DePaul Ventures - San Jose            COMPENSATION AND REIMBURSEMENT OF
                                                                  24     Dialysis, LLC                                 EXPENSES FOR THE PERIOD NOVEMBER 1 -
                                                                        Affects DePaul Ventures-San Jose ASC,         NOVEMBER 30, 2018
                                                                  25     LLC

                                                                  26              Debtors and Debtors In Possession.

                                                                  27

                                                                  28


                                                                       DOCS_SF:98516.1 89566/001
                                                                   Case 2:18-bk-20151-ER           Doc 1113 Filed 12/20/18 Entered 12/20/18 09:24:43               Desc
                                                                                                     Main Document    Page 2 of 15


                                                                   1            Pachulski Stang Ziehl & Jones LLP (the “Firm”) submits its second monthly fee statement

                                                                   2   (the “Second Fee Statement”) for the period from November 1 through November 30, 2018 (the

                                                                   3   “Fee Period”) for services rendered and expenses incurred on behalf of the above-captioned debtors

                                                                   4   and debtors in possession (the “Debtors”). In support of this Second Fee Statement, the Firm

                                                                   5   respectfully represents as follows:

                                                                   6            1.       The Firm is bankruptcy co-counsel to the Debtors in the above-referenced jointly

                                                                   7   administered Chapter 11 cases (the “Cases”). The Firm hereby applies to the Court for allowance

                                                                   8   and payment of interim compensation for services rendered and reimbursement of expenses

                                                                   9   incurred during the Second Fee Period.

                                                                  10            2.       As set forth in the Application for an Order Authorizing and Approving the

                                                                  11   Employment of Pachulski Stang Ziehl & Jones LLP as Bankruptcy Co-Counsel Nunc Pro Tunc to
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   the Petition Date [Docket No. 421] (the “Retention Application”), the Firm has agreed to a 15%
                                        LOS ANGELES, CALIFORNIA




                                                                  13   reduction of its charges for services rendered on account of the Debtors’ non-profit status. The
                                           ATTORNEYS AT LAW




                                                                  14   Court entered an order granting the Retention Application on November 14, 2018, nunc pro tunc to

                                                                  15   the Petition Date [Docket No. 818].

                                                                  16            3.       During the Second Fee Period, the Firm charged a total of $56,305.00 in fees and

                                                                  17   expenses. During the Second Fee Period, the Firm recorded 61.70 hours for services rendered.

                                                                  18   After application of the 15% non-profit adjustment, the fees and expenses requested by the Firm in

                                                                  19   this Second Fee Statement are:

                                                                  20            Period                        Fees                   Expenses           Total
                                                                                11/1/2018 – 11/30//2018       $47,859.25             $501.64            $48,360.89
                                                                  21

                                                                  22            4.       Accordingly, the Firm seeks allowance of interim compensation in the amount of
                                                                  23   $38,789.04 at this time. This total is comprised of: $38,287.40 in fees (80% of fees sought) plus
                                                                  24   $501.64 (100% of expenses incurred)
                                                                  25            5.       For the postpetition period, the Firm has not received any payment to date.
                                                                  26            6.       Attached hereto as Exhibit A is the name of each professional who performed
                                                                  27   services in connection with this case during the Fee Period and the standard hourly rate for each
                                                                  28

                                                                                                                            2
                                                                       DOCS_SF:98516.1 89566/001
                                                                   Case 2:18-bk-20151-ER           Doc 1113 Filed 12/20/18 Entered 12/20/18 09:24:43                Desc
                                                                                                     Main Document    Page 3 of 15


                                                                   1   such professional. Attached hereto as Exhibit B is the detailed time and expense statement for the

                                                                   2   Fee Period.

                                                                   3            7.       The Firm has served a copy of this Second Fee Statement on counsel to the Office of

                                                                   4   the United States Trustee, the above-captioned Debtors, and the Official Committee of Unsecured

                                                                   5   Creditors. The statement was mailed by first class mail, postage prepaid, on the date hereof. The

                                                                   6   notice of this Second Fee Statement will be given by lead counsel for the Debtors pursuant to the

                                                                   7   terms of the Interim Compensation Order (defined below).

                                                                   8            8.       Pursuant to the Amended Order on Debtors’ Motion Establishing Procedures for

                                                                   9   Monthly Payment of Fees and Expense Reimbursement [Docket No. 826] (“Interim Compensation

                                                                  10   Order”), the Debtors are authorized, at the times set forth in such order with respect to the Firm, to

                                                                  11   make the payment requested herein without a further hearing or order of this Court unless an
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   objection to this Second Fee Statement is filed with the Court and served upon the undersigned and
                                        LOS ANGELES, CALIFORNIA




                                                                  13   the Notice Parties (as defined in the Interim Compensation Order) within ten (10) calendar days
                                           ATTORNEYS AT LAW




                                                                  14   after the date of mailing of the notice of this statement. If such an objection is filed, the Debtors are

                                                                  15   authorized to pay (again, at the times set forth in the order with respect to the Firm) of 80% of the

                                                                  16   uncontested fees and 100% of the uncontested expenses without further order of the Court. If no

                                                                  17   objection is filed, the Debtors are authorized to pay 80% of all fees requested in the Second Fee

                                                                  18   Statement and 100% of the uncontested expenses without further order of the Court at the times set

                                                                  19   forth in the Interim Compensation Order with respect to the Firm.

                                                                  20            9.       The interim compensation and reimbursement of expenses sought in this Second Fee

                                                                  21   Statement is not final. The Firm will seek approval from the Court of the fees and expenses

                                                                  22   incurred in these Cases in further fee applications to be filed on a quarterly and final basis as

                                                                  23   required pursuant to the Interim Compensation Order and the Bankruptcy Code. Any compensation

                                                                  24   received by the Firm pursuant to the Interim Compensation Order will be credited towards the final

                                                                  25   fees and expenses as may be allowed by the Court.

                                                                  26                                  [remainder of page intentionally left blank]

                                                                  27

                                                                  28

                                                                                                                           3
                                                                       DOCS_SF:98516.1 89566/001
                                                                   Case 2:18-bk-20151-ER           Doc 1113 Filed 12/20/18 Entered 12/20/18 09:24:43         Desc
                                                                                                     Main Document    Page 4 of 15


                                                                   1            WHEREFORE, the Firm respectfully requests that the Debtors pay compensation to the

                                                                   2   Firm as requested herein pursuant to and in accordance with the terms of the Interim Compensation

                                                                   3   Order.

                                                                   4   Dated: December 20, 2018                    PACHULSKI STANG ZIEHL & JONES LLP

                                                                   5                                               /s/ Shirley S. Cho
                                                                                                                   Henry C. Kevane
                                                                   6                                               Shirley S. Cho
                                                                   7                                               Co-Counsel for the Debtors and
                                                                                                                   Debtors in Possession
                                                                   8

                                                                   9

                                                                  10

                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                  14

                                                                  15

                                                                  16

                                                                  17

                                                                  18

                                                                  19

                                                                  20

                                                                  21

                                                                  22

                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28

                                                                                                                        1
                                                                       DOCS_SF:98516.1 89566/001
      Case 2:18-bk-20151-ER            Doc 1113        Filed 12/20/18      Entered 12/20/18 09:24:43          Desc
                                    PROOF OFDocument
                                        Main SERVICE OF
                                                     PageDOCUMENT
                                                          5 of 15
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                              150 California Street, 15th Floor, San Francisco, CA 94111

A true and correct copy of the foregoing document entitled (specify): PACHULSKI STANG ZIEHL & JONES LLP’S 
MONTHLY FEE APPLICATION FOR ALLOWANCE AND PAYMENT OF INTERIM COMPENSATION AND 
REIMBURSEMENT OF EXPENSES FOR THE PERIOD NOVEMBER 1, 2018 – NOVEMBER 30, 2018 will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
December 20, 2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
                                                                        Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On December 20, 2018, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) March 30, 2018, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

By FedEx Overnight Mail
The Honorable Ernest M. Robles
United States Bankruptcy Court
255 E. Temple Street, Suite 1560
Los Angeles, CA 90012
                                                                           Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

         December 20, 2018               Patricia Jeffries                      /s/ Patricia Jeffries
                                          Printed Name                          Signature




        DOCS_SF:98516.1 89566/001
    Case 2:18-bk-20151-ER          Doc 1113 Filed 12/20/18 Entered 12/20/18 09:24:43                      Desc
                                     Main Document    Page 6 of 15



    In re: Verity Health System of California, Inc., et al.
    Case No. 2:18-bk-20151-ER

    TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

                                                                     Lori A Butler     butler.lori@pbgc.gov, 
       Robert N Amkraut                                          efile@pbgc.gov 
    ramkraut@foxrothschild.com                                       Howard Camhi     hcamhi@ecjlaw.com, 
       Kyra E Andrassy     kandrassy@swelawfirm.com,             tcastelli@ecjlaw.com;amatsuoka@ecjlaw.com 
    csheets@swelawfirm.com;gcruz@swelawfirm.com;                     Shirley Cho     scho@pszjlaw.com 
    jchung@swelawfirm.com                                            Shawn M Christianson     
       Simon Aron     saron@wrslawyers.com                       cmcintire@buchalter.com, 
       Lauren T Attard     lattard@bakerlaw.com,                 schristianson@buchalter.com 
    abalian@bakerlaw.com                                             David N Crapo     dcrapo@gibbonslaw.com, 
       Keith Patrick Banner                                      elrosen@gibbonslaw.com 
    kbanner@greenbergglusker.com,                                    Mariam Danielyan     
    sharper@greenbergglusker.com;calendar@greenb                  md@danielyanlawoffice.com, 
    ergglusker.com                                                danielyan.mar@gmail.com 
       Cristina E Bautista                                          Brian L Davidoff     
    cristina.bautista@kattenlaw.com,                              bdavidoff@greenbergglusker.com, 
    ecf.lax.docket@kattenlaw.com                                  calendar@greenbergglusker.com;jking@greenberg
       James Cornell Behrens                                     glusker.com 
    jbehrens@milbank.com,                                            Aaron Davis     aaron.davis@bryancave.com, 
    gbray@milbank.com;mshinderman@milbank.com;                    kat.flaherty@bryancave.com 
    hmaghakian@milbank.com;dodonnell@milbank.co                      Kevin M Eckhardt     keckhardt@huntonak.com, 
    m;jbrewster@milbank.com;JWeber@milbank.com                    keckhardt@hunton.com 
       Ron Bender     rb@lnbyb.com                                  Andy J Epstein     taxcpaesq@gmail.com 
       Bruce Bennett     bbennett@jonesday.com                      Christine R Etheridge     
       Peter J Benvenutti                                        christine.etheridge@ikonfin.com 
    pbenvenutti@kellerbenvenutti.com,                                M Douglas Flahaut     
    pjbenven74@yahoo.com                                          flahaut.douglas@arentfox.com 
       Elizabeth Berke‐Dreyfuss                                     Michael G Fletcher     mfletcher@frandzel.com, 
    edreyfuss@wendel.com                                          sking@frandzel.com 
       Steven M Berman     sberman@slk‐law.com                      Eric J Fromme     efromme@tocounsel.com, 
       Alicia K Berry     Alicia.Berry@doj.ca.gov                lchapman@tocounsel.com;sschuster@tocounsel.co
       Stephen F Biegenzahn     efile@sfblaw.com                 m 
       Karl E Block     kblock@loeb.com,                            Jeffrey K Garfinkle     jgarfinkle@buchalter.com, 
    jvazquez@loeb.com;ladocket@loeb.com                           docket@buchalter.com;dcyrankowski@buchalter.c
       Dustin P Branch     branchd@ballardspahr.com,             om 
    carolod@ballardspahr.com;hubenb@ballardspahr.                    Lawrence B Gill     lgill@nelsonhardiman.com, 
    com;Pollack@ballardspahr.com                                  rrange@nelsonhardiman.com 
       Michael D Breslauer                                          Paul R. Glassman     pglassman@sycr.com 
    mbreslauer@swsslaw.com,                                          Eric D Goldberg     eric.goldberg@dlapiper.com, 
    wyones@swsslaw.com;mbreslauer@ecf.courtdrive.                 eric‐goldberg‐1103@ecf.pacerpro.com 
    com;wyones@ecf.courtdrive.com                                    Mary H Haas     maryhaas@dwt.com, 
       Chane Buck     cbuck@jonesday.com                         melissastrobel@dwt.com;laxdocket@dwt.com;yuni
       Damarr M Butler     butler.damarr@pbgc.gov,               alubega@dwt.com 
    efile@pbgc.gov                                                   Michael S Held     mheld@jw.com 



    DOCS_SF:98516.1 89566/001
        Case 2:18-bk-20151-ER           Doc 1113 Filed 12/20/18 Entered 12/20/18 09:24:43               Desc
                                          Main Document    Page 7 of 15



            Lawrence J Hilton     lhilton@onellp.com,                Tracy L Mainguy     
         lthomas@onellp.com;info@onellp.com;evescance              bankruptcycourtnotices@unioncounsel.net, 
         @onellp.com;nlichtenberger@onellp.com;rgolder             tmainguy@unioncounsel.net 
         @onellp.com                                                  Samuel R Maizel     samuel.maizel@dentons.com, 
            Robert M Hirsh     Robert.Hirsh@arentfox.com          alicia.aguilar@dentons.com;docket.general.lit.LOS
            Florice Hoffman     fhoffman@socal.rr.com,            @dentons.com;tania.moyron@dentons.com;kathry
         floricehoffman@gmail.com                                  n.howard@dentons.com;joan.mack@dentons.com 
            Michael Hogue     hoguem@gtlaw.com,                      Alvin Mar     alvin.mar@usdoj.gov 
         fernandezc@gtlaw.com;SFOLitDock@gtlaw.com                    Craig G Margulies     
            Marsha A Houston     mhouston@reedsmith.com           Craig@MarguliesFaithlaw.com, 
            Brian D Huben     hubenb@ballardspahr.com,            Victoria@MarguliesFaithlaw.com;David@Margulies
         carolod@ballardspahr.com                                  FaithLaw.com;Helen@MarguliesFaithlaw.com 
            John Mark Jennings                                       Hutchison B Meltzer     
         johnmark.jennings@kutakrock.com                           hutchison.meltzer@doj.ca.gov, 
            Monique D Jewett‐Brewster                             Alicia.Berry@doj.ca.gov 
         mjb@hopkinscarley.com,                                       Christopher Minier     becky@ringstadlaw.com, 
         jkeehnen@hopkinscarley.com                                arlene@ringstadlaw.com 
            Gregory R Jones     gjones@mwe.com,                      John A Moe     john.moe@dentons.com, 
         rnhunter@mwe.com                                          glenda.spratt@dentons.com,derry.kalve@dentons.
            Lance N Jurich     ljurich@loeb.com,                  com,andy.jinnah@dentons.com,bryan.bates@dent
         karnote@loeb.com;ladocket@loeb.com                        ons.com 
            Ivan L Kallick     ikallick@manatt.com,                  Monserrat Morales     
         ihernandez@manatt.com                                     mmorales@marguliesfaithlaw.com, 
            Jane Kim     jkim@kellerbenvenutti.com                Victoria@marguliesfaithlaw.com;David@Margulies
            Monica Y Kim     myk@lnbrb.com,                       FaithLaw.com;Helen@marguliesfaithlaw.com 
         myk@ecf.inforuptcy.com                                       Kevin H Morse     kevin.morse@saul.com, 
            Gary E Klausner     gek@lnbyb.com                     rmarcus@AttorneyMM.com;sean.williams@saul.co
            Marilyn Klinger     MKlinger@smtdlaw.com,             m 
         svargas@smtdlaw.com                                          Marianne S Mortimer     mmortimer@sycr.com, 
            Joseph A Kohanski                                     jrothstein@sycr.com 
         jkohanski@bushgottlieb.com,                                  Tania M Moyron     tania.moyron@dentons.com, 
         kprestegard@bushgottlieb.com                              chris.omeara@dentons.com 
            Jeffrey C Krause     jkrause@gibsondunn.com,             Alan I Nahmias     anahmias@mbnlawyers.com, 
         dtrujillo@gibsondunn.com;jstern@gibsondunn.co             jdale@mbnlawyers.com 
         m                                                            Jennifer L Nassiri     
            Chris D. Kuhner     c.kuhner@kornfieldlaw.com         jennifernassiri@quinnemanuel.com 
            Darryl S Laddin     bkrfilings@agg.com                   Charles E Nelson     nelsonc@ballardspahr.com, 
            Robert S Lampl     advocate45@aol.com,                wassweilerw@ballardspahr.com 
         rlisarobinsonr@aol.com                                       Sheila Gropper Nelson     shedoesbklaw@aol.com 
            Richard A Lapping     richard@lappinglegal.com           Mark A Neubauer     
            Paul J Laurin     plaurin@btlaw.com,                  mneubauer@carltonfields.com, 
         slmoore@btlaw.com;jboustani@btlaw.com                     mlrodriguez@carltonfields.com;smcloughlin@carlt
            David E Lemke     david.lemke@wallerlaw.com,          onfields.com;schau@carltonfields.com;NDunn@car
         chris.cronk@wallerlaw.com;Melissa.jones@wallerl           ltonfields.com;ecfla@carltonfields.com 
         aw.com;cathy.thomas@wallerlaw.com                            Bryan L Ngo     bngo@fortislaw.com, 
            Elan S Levey     elan.levey@usdoj.gov,                BNgo@bluecapitallaw.com;SPicariello@fortislaw.c
         louisa.lin@usdoj.gov 


                                                     2
DOCS_SF:98516.1 89566/001
        Case 2:18-bk-20151-ER           Doc 1113 Filed 12/20/18 Entered 12/20/18 09:24:43                    Desc
                                          Main Document    Page 8 of 15



         om;JNguyen@fortislaw.com;JNguyen@bluecapitall                    Seth B Shapiro     seth.shapiro@usdoj.gov 
         aw.com                                                           Rosa A Shirley     rshirley@nelsonhardiman.com, 
            Melissa T Ngo     ngo.melissa@pbgc.gov,                   ksherry@nelsonhardiman.com;lgill@nelsonhardim
         efile@pbgc.gov                                                an.com;jwilson@nelsonhardiman.com;rrange@nel
            Abigail V O'Brient     avobrient@mintz.com,               sonhardiman.com 
         docketing@mintz.com;DEHashimoto@mintz.com;n                   Kyrsten Skogstad     kskogstad@calnurses.org, 
         leali@mintz.com;ABLevin@mintz.com                             rcraven@calnurses.org 
            John R OKeefe     jokeefe@metzlewis.com,                  Michael St James     ecf@stjames‐law.com 
         slohr@metzlewis.com                                           Andrew Still     astill@swlaw.com, 
            Paul J Pascuzzi     ppascuzzi@ffwplaw.com,                kcollins@swlaw.com 
         lnlasley@ffwplaw.com                                          Jason D Strabo     jstrabo@mwe.com, 
            Lisa M Peters     lisa.peters@kutakrock.com,              ahoneycutt@mwe.com 
         marybeth.brukner@kutakrock.com                                Sabrina L Streusand     Streusand@slollp.com 
            Christopher J Petersen                                    Ralph J Swanson     ralph.swanson@berliner.com, 
         cjpetersen@blankrome.com,                                     sabina.hall@berliner.com 
         gsolis@blankrome.com                                          Gary F Torrell     gft@vrmlaw.com 
            Mark D Plevin     mplevin@crowell.com,                    United States Trustee (LA)     
         cromo@crowell.com                                             ustpregion16.la.ecf@usdoj.gov 
            David M Poitras     dpoitras@wedgewood‐                   Matthew S Walker     
         inc.com,                                                      matthew.walker@pillsburylaw.com, 
         dpoitras@jmbm.com;dmarcus@wedgewood‐                          candy.kleiner@pillsburylaw.com 
         inc.com;aguisinger@wedgewood‐inc.com                          Jason Wallach     jwallach@ghplaw.com, 
            Steven G. Polard     spolard@ch‐law.com,                  g33404@notify.cincompass.com 
         cborrayo@ch‐law.com                                           Kenneth K Wang     kenneth.wang@doj.ca.gov, 
            Lori L Purkey                                             Jennifer.Kim@doj.ca.gov;susan.lincoln@doj.ca.gov;
         bareham@purkeyandassociates.com                               yesenia.caro@doj.ca.gov 
            William M Rathbone     wrathbone@grsm.com,                Phillip K Wang     phillip.wang@rimonlaw.com, 
         jmydlandevans@grsm.com                                        david.kline@rimonlaw.com 
            Jason M Reed     Jason.Reed@Maslon.com                    Gerrick Warrington     
            Michael B Reynolds     mreynolds@swlaw.com,               gwarrington@frandzel.com, 
         kcollins@swlaw.com                                            dmoore@frandzel.com 
            Emily P Rich     erich@unioncounsel.net,                  Adam G Wentland     awentland@tocounsel.com 
         bankruptcycourtnotices@unioncounsel.net                       Latonia Williams     lwilliams@goodwin.com, 
            Lesley A Riis     lriis@dpmclaw.com                       bankruptcy@goodwin.com 
            Debra Riley     driley@allenmatkins.com,                  Michael S Winsten     mike@winsten.com 
         plewis@allenmatkins.com;jalisuag@allenmatkins.c               Jeffrey C Wisler     
         om;bcrfilings@allenmatkins.com                                jwisler@connollygallagher.com, 
            Julie H Rome‐Banks     julie@bindermalter.com             dperkins@connollygallagher.com 
            Mary H Rose     mrose@buchalter.com,                      Neal L Wolf     nwolf@hansonbridgett.com, 
         salarcon@buchalter.com                                        calendarclerk@hansonbridgett.com,lchappell@han
            Megan A Rowe     mrowe@dsrhealthlaw.com,                  sonbridgett.com 
         lwestoby@dsrhealthlaw.com                                     Hatty K Yip     hatty.yip@usdoj.gov 
            Nathan A Schultz     nschultz@foxrothschild.com           Andrew J Ziaja     aziaja@leonardcarder.com, 
            William Schumacher                                        sgroff@leonardcarder.com;msimons@leonardcard
         wschumacher@jonesday.com                                      er.com;lbadar@leonardcarder.com 
            Mark A Serlin     ms@swllplaw.com,                      Rose Zimmerman     rzimmerman@dalycity.org
         mor@swllplaw.com 


                                                     3
DOCS_SF:98516.1 89566/001
       Case 2:18-bk-20151-ER         Doc 1113 Filed 12/20/18 Entered 12/20/18 09:24:43               Desc
                                       Main Document    Page 9 of 15


              TO BE SERVED VIA U.S. FIRST CLASS MAIL 
          
Aetna Life Insurance Company           Allen Matkins Leck Gamble Mallory     Allscripts Healthcare LLC 
Attn: Paul Weller, Head of Provider    & Natsis LLP                          c/o Greg Bianchi 
Litigation                             Debra A. Riley, Esq.                  5995 Windward Pkwy 
1425 Union Meeting Rd.                 One America Plaza                     Alpharetta, GA 30005‐4184 
Mail Stop U23S                         600 West Broadway, 27th Floor 
Blue Bell, PA 19422                    San Diego, CA 92101‐0903 
Arnall Golden Gregory LLP              Attorney General of California        Attorney General of the United 
Darryl S. Laddin                       Xavier Becerra                        States 
171 17th Street NW, Suite 2100         California Department of Justice      U.S. Department of Justice 
Atlanta, GA 30363‐1031                 1300 "I" Street                       950 Pennsylvania Avenue, NW 
                                       Sacramento, CA 95814                  Washington, DC 20530‐0001 
Baker & Hostetler LLP                  Ballard Spahr LLP                     Ballard Spahr LLP 
Lauren T. Attard                       Attn: Dustin P. Branch, Esq.          Brain D. Huben, Michael S. Meyers 
11601 Wilshire Boulevard, Suite        Nicholas M. Gross, Esq.               2029 Century Park East, Suite 800 
1400                                   2029 Century Park East, Suite 800     Los Angeles, CA 90067‐2909 
Los Angeles, CA 90025‐0509             Los Angeles, CA 90067‐2909 
Ballard Spahr LLP                      Barnes & Thornburg LLP                Barnes & Thornburg LLP  
William P. Wassweiler, Esq. and        David M. Powlen, Kevin G. Collins     Paul J. Laurin 
Charles E. Nelson, Esq.                1000 N. West St., Suite 1500          2029 Century Park E, Suite 300 
2000 IDS Center                        Wilmington, DE 19801                  Los Angeles, CA 90067 
80 South Eighth Street 
Minneapolis, MN 55402 
Bart Florence                          BDO USA, LLP                          Blakeley LLP 
1620 North Market Blvd                 Laurence W. Golberg Director,         Scott E. Blakeley 
Sacramento, CA 95834                   Receivables Management                18500 Von Karman Avenue, Suite 
                                       4135 Mendenhall Oaks Parkway,         530 
                                       Suite 140                             Irvine, CA 92612 
                                       High Point, NC 27265 
Bush Gottlieb, A Law Corporation       California Department of Health       California Nurses Association (CNA) 
Attn: Joseph A. Kohanski, David E.     Care Services                         Attn: Kyrsten Skogstad, In‐House 
Ahdoot, Kirk M. Prestegard             Jennifer Kent, Director               Counsel; Nicole J. Daro, Esq 
801 North Brand Boulevard, Suite       1501 Capitol Avenue, Suite 4510       Legal Department 
950                                    Sacramento, CA 95814                  155 Grand Avenue 
Glendale, CA 91203                                                           Oakland, CA 94612 
California Secretary of State          California State Board of Pharmacy    Carlton Fields Jordan Burt, LLP  
1500 11th Street                       1625 North Market Boulevard           Mark Neubauer and Donald Kirk 
Sacramento, CA 95814                   Sacramento, CA 95834                  2000 Avenue of the Stars Suite 530N 
                                                                             Los Angeles, CA 90067‐4707 
Carlton Fields Jorden Burt PA         City of Daly City                      Dentons US LLP 
Donald R Kirk & John Ryan Yant        Rose Zimmerman                         Samuel R. Maizel, John A. Moe, II, 
4221 W Boy Scout Blvd Ste 1000        City Attorney's Office                 Tania M. Moyron 
Tampa, FL 33607‐5780                  333 90th Street                        601 South Figueroa Street, Ste 2500 
                                      Daly City, CA 94015                    Los Angeles, CA 90017‐5704 



        DOCS_SF:98516.1 89566/001
       Case 2:18-bk-20151-ER          Doc 1113 Filed 12/20/18 Entered 12/20/18 09:24:43                    Desc
                                       Main Document    Page 10 of 15


Devaney Pate Morris & Cameron,         DLA Piper LLP (US)                         DLA Piper LLP (US) 
LLP                                    Eric D. Goldberg                           Jade M. Williams 
c/o Leslie A. Riis                     2000 Avenue of the Stars                   444 W. Lake Street, Suite 900  
402 W. Broadway, Suite 1300            Suite 400 North Tower                      Chicago, IL 60606‐0089 
San Diego, CA 92101                    Los Angeles, CA 90067‐4704 
Employment Development Dept.           Engineers and Scientists of California     Felderstein Fitzgerald 
722 Capitol Mall                       IFPTE Local 20 AFL‐CIO & CLC               Willoughby & Pascuzzi Llp 
Sacramento, CA 95814                   Danielle Lucido Chief Counsel              Paul J. Pascuzzi 
                                       810 Clay St                                400 Capitol Mall, Suite 1750 
                                       Oakland, CA 94607                          Sacramento, CA 95814 
Fox Rothschild LLP                     Fox Rothschild LLP                         Gibbons P.C. 
Attn:  Michael A. Sweet, Nathan A.     Attn: Robert N. Amkraut, Esq               Attn: David N. Crapo, Esq.  
Schultz                                1001 Fourth Ave. Suite 4500                One Gateway Center  
345 California Street, Suite 2200      Seattle, WA 98154                          Newark, NJ 07102‐5310  
San Francisco, CA 94104 
Greenberg Traurig, LLP                 Hanson Bridgett LLP                        Hunton Andrews Kurth LLP 
Michael R. Hogue                       Neal L. Wolf                               Kevin M. Eckhardt 
Four Embarcadero Center, Suite         425 Market Street, 26th Floor              550 South Hope Street, Suite 2000 
3000                                   San Francisco, CA 94105                    Los Angeles, CA 90071 
San Francisco, CA 94111 
Internal Revenue Service               Internal Revenue Service                   Internal Revenue Service 
300 North Los Angeles Street           600 Arch Street                            Attn Susanne Larson 
Los Angeles, CA 90012                  Philadelphia, PA 19101                     31 Hopkins Plz Rm 1150 
                                                                                  Baltimore, MD 21201 
Internal Revenue Service               Internal Revenue Service                   Iris Lara 
Centralized Insolvency Operation       Centralized Insolvency Operation           c/o Trisha Monesi 
2970 Market St                         P.O. Box 7346                              1875 Century Park East, Suite 100  
Philadelphia, PA 19104                 Philadelphia, PA 19101‐7346                Los Angeles, CA 90067 
JD Thompson Law                        Jones Day                                  KCC 
c/o Judy D. Thompson, Esq.             Bruce Bennett                              Andres A. Estrada 
PO Box 33127                           555 South Flower Street                    2335 Alaska Ave 
Charlotte, NC 28233                    Fiftieth Floor                             El Segundo, CA 90245 
                                       Los Angeles, CA 90071 
Keller & Benvenutti LLP                Keller & Benvenutti LLP                    Kornfield, Nyberg, Bendes, Kuhner & 
Attn: Jane Kim                         Attn: Peter J. Benvenutti, Jane Kim        Little, PC 
650 California Street, Suite 1900      650 California Street, Suite 1900          Chris D. Kuhner, Esq. 
San Francisco, CA 94108                San Francisco, CA 94108                    1970 Broadway, Suite 600 
                                                                                  Oakland, CA 94612 
Kutack Rock LLP                        Law Office of Florice Hoffman. L.C.        Leonard Carder, LLP 
Lisa M. Peters                         Florice Hoffman                            Shawn C. Groff, Mollie Simons, 
1650 Farnam St                         8502 E. Chapman Avenue, Suite 353          Andrew J. Ziaja 
Omaha, NE 68102                        Orange, CA 92869                           1330 Broadway, Ste 1450 
                                                                                  Oakland, CA 94612 




                                                            2
        DOCS_SF:98516.1 89566/001
       Case 2:18-bk-20151-ER           Doc 1113 Filed 12/20/18 Entered 12/20/18 09:24:43              Desc
                                        Main Document    Page 11 of 15


Loeb & Loeb LLP                         Los Angeles County Tax Collector       Maslon LLP 
Lance N. Jurich, Esq                    PO Box 54110                           Clark T Whitmore 
10100 Santa Monica Blvd., Suite         Los Angeles, CA 90054‐0110             3300 Wells Fargo Center 
2200                                                                           90 South Seventh Street 
Los Angeles, CA 90067‐4120                                                     Minneapolis, MN 55402 
McDermott Will & Emery LLP              McDermott Will & Emery LLP             McDermott Will & Emery 
Gregory R. Jones                        James Kapp                             Jason D. Strabo; James F. Owens 
2049 Century Park East, Suite 3800      444 West Lake Street, Suite 4000       2049 Century Park East, 38th Floor 
Los Angeles, CA 90067‐3218              Chicago, IL 60606‐0029                 Los Angeles, CA 90067‐3218 
McDermott Will & Emery                  Medline Industries, Inc.               Milbank, Tweed, Hadley & McCloy 
William Smith Nathan Coco Megan         Shane Reed                             LLP 
Preusker                                Three Lakes Drive                      Gregory A. Bray Mark Shinderman & 
444 West Lake St                        Northfield, IL 60093                   James C. Behrens 
Suite 4000                                                                     2029 Century Park East, 33rd Floor 
Chicago, IL 60606‐0029                                                         Los Angeles, CA 90067 
Mintz Levin Cohn Ferris Glovsky and     Mintz Levin Cohn Ferris Glovsky and    NantWorks, LLC and Nant Capital, 
Popeo, P.C.                             Popeo, P.C.                            LLC 
Attn:  Daniel Bleck and Leonard         Attn: Paul J. Ricotta                  Charles Kim 
Weiser‐Varon                            666 Third Avenue                       9920 Jefferson Boulevard 
One Financial Center                    New York, NY 10017                     Culver City, CA 90232 
Boston, MA 02111 
Office of the Attorney General          Office of the Attorney General      Office of the Attorney General 
Alicia Berry, Deputy Attorney           Consumer Law Section                Wendi A. Horwitz, Deputy Attorney 
General                                 Attn Bankruptcy Notices             General 
300 South Spring Street, Suite 1702     455 Golden Gate Ave., Suite 11000   Department of Justice  
Los Angeles, CA 90013                   San Francisco, CA 94102             Office of the Attorney General 
                                                                            300 South Spring Street, Suite 1702 
                                                                            Los Angeles, CA 90013 
Office of the California  Attorney      Office of the California Attorney   Pension Benefit Guaranty 
General                                 General                             Corporation ("PBGC") 
Department of Justice                   Department of Justice               Attn: Michael Strollo and Emily 
Kenneth Wang                            Jennifer Kim                        Lesniewski 
300 South Spring Street                 300 South Spring Street, Floor 9    1200 K Street, NW 
Los Angeles, CA 90013                   Los Angeles, CA 90013               Washington, DC 20005 
Perkins Coie LLP                        Purkey & Associates, P.L.C.         Randick O'Dea & Tooliatos, LLP 
Schuyler G. Carroll                     c/o Lori L. Purkey, Esq             Phillip G. Vermont 
30 Rockefeller Plaza, 22nd Floor        5050 Cascade Road, SE, Suite A      5000 Hopyard Road  
New York, NY 10112‐0085                 Grand Rapids, MI 49546              Suite 225 
                                                                            Pleasanton, CA 94588 
RCB Equities #1 LLC                     Reed Smith LLP                      Resolution Law Firm P. C. 
Brian Dror / Zvi Ryzman                 Marsha A. Houston,Christopher O.    Sheila Gropper Nelson, Esq. 
5967 West 3rd Street, Suite 102         Rivas                               50 Osgood Place, 5th Fl. 
Los Angeles, CA 90036                   355 South Grand Avenue, Suite 2900  San Francisco, CA 94133 
                                        Los Angeles, CA 90071‐1514 



                                                            3
        DOCS_SF:98516.1 89566/001
       Case 2:18-bk-20151-ER         Doc 1113 Filed 12/20/18 Entered 12/20/18 09:24:43                   Desc
                                      Main Document    Page 12 of 15


Rimon, P.C.                         Rosemawr Municipal Partners Fund          Securities & Exchange Commission 
Phillip K. Wang, Esq.               LP, Rosemawr Capital II LP, RMA           Secretary of the Treasury 
One Embarcadero Center, Suite 400   Capital Partners LP                       100 F St NE 
San Francisco, CA 94111             Greg Shlionsky Julie Morrone Elyse        Washington, DC 20549 
                                    Levesque 
                                    810 Seventh Avenue, 27th Floor 
                                    New York, NY 10019 
Securities and Exchange Commission  SEIU United Healthcare Workers            Serlin & Whiteford, LLP 
200 Vesey Street, #400              West                                      Mark A. Serlin, Esq. 
New York, NY 10281                  Attn: David Miller                        701 E Street 
                                    560 Thomas L Berkeley Way                 Sacramento, CA 95814 
                                    Oakland, CA 94612‐1602 
Shumaker, Loop, & Kendrick, LLP     Sodexo Operations, LLC, a Delaware        St. James Law, P.C. 
Steven M. Berman                    Limited Liability Company Sodexo          Michael St. James, Esq. 
101 E. Kennedy Blvd., Suite 2800    CTM LLC                                   22 Battery Street, Suite 888 
Tampa, FL 33602                     Attn: Brad Hamman                         San Francisco, CA 94111 
                                    2301 Maitland Center Pkwy Ste 350 
                                    Maitland , FL 32751‐7417 
State of California Board of        State of California Board of              State of California Board of 
Equalization                        Equalization                              Equalization 
Account Information Group, MIC: 29  Executive Director                        Special Operations Bankruptcy Team 
P.O. Box 942879                     450 N Street, MIC: 73                     MIC: 74 
Sacramento, CA 94279‐0029           Sacramento, CA 95814‐0073                 P.O. Box 942879 
                                                                              Sacramento, CA 94279‐0074 
State of California Employment        State of California Franchise Tax       State of California Franchise Tax 
Development Department                Board                                   Board 
Bankruptcy Group MIC 92E              300 South Spring Street, #5704          Franchise Tax Board Bankruptcy 
P. O. Box 826880                      Los Angeles, CA 90013                   Section 
Sacramento, CA 94280‐0001                                                     MS: A‐340 
                                                                              P. O. Box 2952 
                                                                              Sacramento, CA 95812‐2952 
State of California Franchise Tax     Stradling Yocca Carlson & Rauth, P.C.   Stradling Yocca Carlson & Rauth, P.C. 
Board                                 Paul R. Glassman, Esq. and Jeremy H.  Attn: Marianne S. Mortimer; Paul R. 
Franchise Tax Board Chief Counsel     Rothstein, Esq                          Glassman; Jeremy H. Rothstein 
c/o General Counsel Section           100 Wilshire Boulevard, 4th Floor       100 Wilshire Boulevard, 4th Floor 
P.O. Box 1720                         Santa Monica, CA 90401                  Santa Monica, CA 90401 
MS: A‐260 
Rancho Cordova, CA 95741‐1720 
Streusand, Landon, Ozburn &           Theodora Oringher PC                    Trodella & Lapping LLP 
Lemmon, LLP                           Scott Schoelffel, Eric J. Fromme,       Richard A. Lapping 
Sabrina L. Streusand                  Adam G Wentland                         540 Pacific Avenue 
1801 S. Mopac Expressway, Suite       535 Anton Boulevard, 9th Floor          San Francisco, CA 94133 
320                                   Costa Mesa, CA 92626‐7109 
Austin, TX 78746 



                                                           4
        DOCS_SF:98516.1 89566/001
       Case 2:18-bk-20151-ER           Doc 1113 Filed 12/20/18 Entered 12/20/18 09:24:43                Desc
                                        Main Document    Page 13 of 15


U.S. Department of Health & Human       U.S. Department of Health and          U.S. Department of Justice, Civil 
Services                                Human Services                         Division 
Alex M. Azar II, Secretary              Angela M. Belgrove, Assistant          Seth B Shapiro 
200 Independence Avenue, S.W.           Regional Counsel                       1100 L Street, N.W., Room 7114, 
Washington, DC 20201                    Office of the General Counsel,         Seventh Floor 
                                        Region IX                              Washington, DC 20005 
                                        90 7th Street, Suite 4‐500 
                                        San Francisco, CA 94103‐6705 
U.S. Securities and Exchange            UMB Bank, N.A.                         United States Attorney’s Office 
Commission                              Attn.: Virginia Anne Housum, Senior    Federal Building 
Attn: Bankruptcy Counsel                Vice President                         Room 7516 
444 South Flower Street, Suite 900      UMB Financial Corporation              300 North Los Angeles Street 
Los Angeles, CA 90071‐9591              120 Sixth Street South                 Los Angeles, CA 90012 
                                        Suite 1400 
                                        Minneapolis, MN 55402 
United States Attorneys Office          United States Attorneys Office         United States Attorneys Office 
Central District of California          Northern District of California        Northern District of California 
312 North Spring Street                 150 Almaden Boulevard                  Federal Courthouse 
Suite 1200                              Suite 900                              450 Golden Gate Avenue 
Los Angeles, CA 90012                   San Jose, CA 95113                     San Francisco, CA 94102 
United States Department of Justice     United States Trustee                  US Bank NA 
Ben Franklin Station                    Hatty K Yip                            Sandra Spivey, VP 
P. O. Box 683                           Office of the UST/DOJ                  Nevada Financial Center 
Washington, DC 20044                    915 Wilshire Blvd., Suite 1850         2300 W. Sahara Ste 200 
                                        Los Angeles, CA 90017                  Las Vegas, NV 89102 
Waller Lansden Dortch & Davis, LLP      Weinberg Roger & Rosenfeld             Wells Fargo Bank, N.A. 
David E. Lemke, Melissa W. Jones        c/o Emily P. Rich                      Mark V Birkholz;Corbin Connell 
511 Union Street, Ste 2700              1001 Marina Village Parkway, Suite     600 4th St. 6th Floor  
Nashville, TN 37219                     200                                    MAC N9300‐060 
                                        Alameda, CA 94501‐1091                 Minneapolis, MN 55415 
Workday, Inc.                                                                   
John Elrod;Ann Sandor 
6110 Stoneridge Mall Road 
Pleasanton, CA 94588 
              




                                                            5
        DOCS_SF:98516.1 89566/001
Case 2:18-bk-20151-ER           Doc 1113 Filed 12/20/18 Entered 12/20/18 09:24:43   Desc
                                 Main Document    Page 14 of 15



                                          EXHIBIT A


             Timekeeper                     Rate      Hours     Total Fees
             Steven J. Kahn                 $925.00     23.90      $22,107.50
             Shirley S. Cho                 $850.00     15.50      $13,175.00
             Patricia J. Jeffries           $375.00      1.20      $   450.00
             Henry C. Kevane                $975.00     21.10      $20,572.50
             Grand Total                                61.70      $56,305.00




DOCS_SF:98516.1 89566/001
Case 2:18-bk-20151-ER       Doc 1113 Filed 12/20/18 Entered 12/20/18 09:24:43   Desc
                             Main Document    Page 15 of 15



                                      EXHIBIT B




DOCS_SF:98516.1 89566/001
